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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA

DEREK KIRK,                )                      3:17-CV-0334-RCJ-CLB
                           )
           Plaintiff,      )                      MINUTES OF THE COURT
                           )
     vs.                   )                      July 9, 2020
                           )
NEVADA DEPARTMENT OF       )
CORRECTIONS, et al.,       )
                           )
           Defendants.     )
__________________________ )

PRESENT: THE HONORABLE CARLA BALDWIN, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:                 LISA MANN              REPORTER: NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

       The Office of the Attorney General did not accept service of process on behalf of
James Keener who is no longer an employee of the Nevada Department of Corrections
(ECF No. 48). However, the Attorney General has filed the last known addresses of this
defendant under seal (ECF No. 49). If plaintiff wishes to have the U.S. Marshal attempt
service on this defendant, he shall follow the instructions contained in this order.

       The Clerk shall ISSUE a summons for the above-named defendant and send the
same to the U.S. Marshal with the address provided under seal (ECF No. 49). The Clerk
shall also SEND a copy of the second amended complaint (ECF No. 46), the screening
order (ECF No. 45), and this order to the U.S. Marshal for service on the defendant. The
Clerk shall SEND to plaintiff one USM-285 form. Plaintiff shall have until Friday, July 24,
2020, to complete the USM-285 service form and return them to the U.S. Marshal, 400
South Virginia Street, 2nd Floor, Reno, Nevada 89501.

        If plaintiff fails to follow this order, the above-named defendant will be dismissed for
failure to complete service of process pursuant to Fed.R.Civ.P. 4(m).

       IT IS SO ORDERED.

                                                  DEBRA K. KEMPI, CLERK

                                           By:             /s/
                                                  Deputy Clerk
